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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

     MONIQUE WILLIAMS,
                                                               :
                         Plaintiff,                            :
                                                               :
                v.                                             : Civil Action No. 17-cv-445 (JDB)
                                                               :
                                                               :
     UNITED STATES OF AMERICA, et al.,                         :
                                                               :
                         Defendants.                           :

                JOINT MOTION OF DEFENDANTS FOR CONTEMPT SANCTIONS
                   REGARDING NON-PARTY DEPONENT ARTENAE BRITT

            Defendants, pursuant to Rule 45 of the Federal Rules of Civil Procedure, ask this Court

     to issue contempt sanctions against Artenae Britt. In support of this Motion, Defendants state as

     follows:

1.   This is a medical malpractice case involving the October 5, 2014, death of 17-year-old H.W. At

     the time of his death, Artenae Britt was one of four people who had been known to be H.W.’s

     closest friends. Britt has been identified in the depositions of several other peers of H.W. as

     someone who has valuable information regarding H.W.

2.   On August 10, 2019, at 5:17 p.m., Loqua Wade, process server with Same Day Process Service,

     Inc., served Britt with a subpoena, Notice of Deposition duces tecum, a check for witness fees,

     and an associated cover letter regarding her deposition on August 26, 2019. A true and accurate

     copy of the affidavit of Loqua Wade is attached hereto as Exhibit A.

3.   On August 5, 2019, Defendants filed a motion to compel Britt to attend a deposition based upon

     a history of evading service of a prior subpoena and a failure to appear for a previously scheduled

     subpoena deposition. ECF. No. 65.
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4.   On August 8, 2019, the Court issued an Order compelling Britt to attend her deposition scheduled

     for Monday, August 26, 2019. ECF No. 68. As part of the Order, the Court mailed the Order to

     Britt’s home address and instructed the Defendants to personally serve Britt with a copy of the

     Order.

5.   Subsequent to the court’s order, Same Day Process Servers made the following unsuccessful

     attempts to personally serve Britt with a copy of the Court’s August 8, 2019 Order:

       Date and                              Event
                   Jobnum      Address                                           Detail
        Time                                 Type

                             3913 Burns                   I received no response from within the residence. I
      08/18/2019             Ct., SE                      observed no movement or activity from within the
                   244529                   Attempt
      at 19:03               Washington,                  residence. I did not hear anything from within the
                             DC 20019                     residence. I marked the front door accordingly.

                             3913 Burns                   I received no response from within the residence. I
      08/16/2019             Ct., SE                      observed no movement or activity from within the
                   244529                   Attempt
      at 10:33               Washington,                  residence. I did not hear anything from within the
                             DC 20019                     residence. I marked the front door again.

                             3913 Burns                   I arrived at the subject's address. There was no
      08/15/2019             Ct., SE                      sign of the subject around or in front of residence.
                   244529                   Attempt
      at 19:04               Washington,                  I knocked on the door but there was no response. I
                             DC 20019                     waited ten minutes and left.

                             3913 Burns
      08/13/2019             Ct., SE                      I have not seen the subject and there has not been
                   244529                   Attempt
      at 18:49               Washington,                  any movement at this time.
                             DC 20019

                             3913 Burns                   I received no response from within the residence. I
      08/13/2019             Ct., SE                      observed no movement or activity from within the
                   244529                   Attempt
      at 18:39               Washington,                  residence. I did not hear anything from within the
                             DC 20019                     residence. I marked the front door accordingly.

                             3913 Burns
                                                          As of the time of writing this, the subject has not
      08/13/2019             Ct., SE
                   244529                   Attempt       come out, and there has not been any more activity
      at 10:07               Washington,
                                                          to or from the address.
                             DC 20019

                                                          I'm still sitting and waiting for the subject to come
                             3913 Burns
                                                          out but there is no sign of her. The Mazda SUV
      08/13/2019             Ct., SE
                   244529                   Attempt       just came back. The man and the child are the only
      at 08:27               Washington,
                                                          two who exited the vehicle. They went back into
                             DC 20019
                                                          the address.




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                             3913 Burns
                                                          Another woman, who is probably in her mid-
      08/13/2019             Ct., SE
                   244529                   Attempt       forties, came outside and got into a gray Nissan
      at 07:30               Washington,
                                                          Altima. There still has been no sign of the subject.
                             DC 20019

                                                          I saw a male in his late twenties and a woman,
                             3913 Burns
                                                          maybe in her forties, come outside with a young
      08/13/2019             Ct., SE
                   244529                   Attempt       child and get into a black Mazda SUV with DC
      at 07:25               Washington,
                                                          tags gb8 442. They drove off. No one else came
                             DC 20019
                                                          outside and there is still no sign of the subject yet.

                             3913 Burns
                                                          When I arrived at the address provided, I saw that
      08/13/2019             Ct., SE
                   244529                   Attempt       there are no lights on the inside of the address.
      at 06:05               Washington,
                                                          There has been no movement so far.
                             DC 20019

                             3913 Burns
      08/08/2019             Ct., SE                      I received no response from knocking. I did not
                   244529                   Attempt
      at 07:28               Washington,                  see any movement. I marked the door accordingly.
                             DC 20019

                             3913 Burns
                                                          All lights are on in front of the home. No response
      08/07/2019             Ct., SE
                   244529                   Attempt       to knocking. I marked the door accordingly.
      at 21:39               Washington,
                                                          Waited ten minutes and left.
                             DC 20019

                             3913 Burns                   I received no response from within the residence. I
      08/05/2019             Ct., SE                      observed no movement or activity from within the
                   244529                   Attempt
      at 08:36               Washington,                  residence. I did not hear anything from within the
                             DC 20019                     residence. I marked the front door accordingly.

                                                          I arrived at the address of the subject and was
                                                          greeted at the door by a little boy and then an older
                                                          man. They both stated that the subject was in and
                             3913 Burns
                                                          began to call her name. I waited by the door for
      08/04/2019             Ct., SE
                   244529                   Attempt       about 15 minutes and she never came to the door. I
      at 18:57               Washington,
                                                          was told that she must be sleep or she may not be
                             DC 20019
                                                          here and stated that I should call her. He then
                                                          stated that he was busy playing video games and
                                                          closed the door.




6.   In August 23, 2019, Defendants instructed the process server to post a copy of the Order on the

     door of Britt’s residence where she had been personally served twice.

7.   On August 25, 2019, a process server posted a copy of the court’s order on Britt’s door. A true

     and accurate copy of the affidavit of Rene Rivas is attached hereto as Exhibit B.




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8.   On August 26, 2019, Britt failed to appear as directed by the subpoena and this Court’s Order for

     her deposition and made no effort to call to reschedule or otherwise explain the reason for her

     absence.

9.   For the foregoing reason, Defendants respectfully request an order holding Artenae Britt in

     contempt for her repeated failures to appear for a deposition in this matter despite being served

     with two separate subpoenas for same and despite this court’s order compelling her to appear on

     August 26, 2019 for a deposition.

10. For the foregoing reasons, Defendants also respectfully request and limited extension of fact

     discovery so that they may take Britt’s deposition.

            WHEREFORE, for the reasons set forth in this Motion, Defendants request this court issue

     an order holding Britt in contempt under Rule 45(g), and for any and all other relief deemed

     appropriate under the circumstances.



                                            Respectfully submitted,

                                         By: __/s/Crystal S. Deese_______
                                          CRYSTAL S. DEESE ( #454759)
                                          EDWARD J. SEDLACEK (pro hac vice)
                                          Jackson & Campbell, P.C.
                                          1120 20th Street, NW
                                          Suite 300 South Tower
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                                          Attorney for Children’s National Medical Center




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                                         SCOTT L. SROKA, ESQ.
                                         Assistant United States Attorney
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                                         Attorney for Defendant
                                         United States of America


                                         SEAN M. FLAIM #1035547
                                         Office of the General Counsel
                                         U.S. Dept. of Health and Human Services
                                         sean.flaim@hhs.gov
                                         Of Counsel




                                 LCvR 7 CERTIFICATION

        Pursuant to LCvR 7(m) and before Defendants filed this motion, Defendants emailed a

copy of the proposed motion to Plaintiff’s counsel and followed up with a phone call. Plaintiff’s

counsel informed Defendants that she was not yet able to confirm a position on the motion.

                                              /s/ Edward J. Sedlacek
                                              Edward J. Sedlacek




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                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA

MONIQUE WILLIAMS,                                    :
                                                     :
                 Plaintiff,                          :
                                                     :
       v.                                            : Civil Action No. 17-00445 (JDB)
                                                     :
                                                     :
UNITED STATES OF AMERICA, et al.,                    :
                                                     :
                 Defendants.                         :


                               POINTS AND AUTHORITIES

     1. Federal Rule of Civil Procedure 45(g).

     2. This Court’s inherent authority.

     3. The record herein.



                                           /s/ Crystal S.Deese
                                           Crystal S. Deese




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of September, 2019 a copy of the foregoing Motion

and Points and Authorities was filed and served via the court’s electronic filing system upon:

       Scott L. Sroka, Esq.
       Assistant United States Attorney
       Scott.Sroka@usdoj.gov
       Attorney for Defendant
       United States of America

       Sean M. Flaim #1035547
       Office of the General Counsel
       U.S. Dept. of Health and Human Services
       sean.flaim@hhs.gov
       Of Counsel

       Crystal S. Deese( #454759)
       Edward J. Sedlacek (pro hac vice)
       Jackson & Campbell
       cdeese@jackscamp.com
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       Attorney for Children’s National Medical Center

       Karen E. Evans
       Rabiah Abdullah
       The Cochran Firm
       kevans@cochranfirm.com
       rabdullah@cochranfirm.com
       Attorneys for Plaintiff

       Further, service of this motion was made via U.S. Mail to Artenae Britt at:

       3913 Burns Ct., SE
       Washington, DC 20019


                                               /s/ Crystal S. Deese
                                               Crystal S. Deese




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MONIQUE WILLIAMS,                                        :
                                                         :
                     Plaintiff,                          :
                                                         :
             v.                                          :    Civil Action No. 17-0445 (JDB)
                                                         :
UNITED STATES OF AMERICA, et al.,                        :
                                                         :
                     Defendants.                         :
                                                         :

                                     [PROPOSED] ORDER

         Upon consideration of the Defendant’s Motion for Contempt Sanctions, and the

Memorandum of Points and Authorities in support thereof, and good cause having been shown,

it is this        day of September 2019, hereby

         ORDERED that the Motion be, and the same hereby is, GRANTED; and

         ORDERED that Artenae Britt is in contempt of court under Rule 45(g) and is subject to

sanctions pursuant to her failure to appear for this deposition in this matter;

         ORDERED that fact discovery shall be extended for the limited purpose of allowing

defendants to take the deposition of Artenae Britt.




                                                      _____________________
                                                      United States District Judge
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Copies to:

Artenae Britt
Karen E. Evans, Esq.
Rabiah Abdullah, Esq.
Scott L. Sroka, Esq.
Sean Flaim, Esq.
Crystal S. Deese, Esq. (by operation of CM/ECF)




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